                 Case 1:13-cv-01398-JEB Document 54 Filed 11/20/15 Page 1 of 1
    Civil Judgment (Rev. DC 03/10)


                         UNITED STATES DISTRICT COURT
                                     FOR THE DISTRICT OF COLUMBIA

     TYRONE PITTS,



                 Plaintiff(s)
                V.                                           Civil Action No. 13-1398 (JEB)

     HOWARD UNIVERSITY,



                 Defendant(s)

                                     JUDGMENT ON THE VERDICT
                                           FOR DEFENDANT

          This cause having been tried by the Court and a Jury, before the Honorable

    JAMES E. BOASBERG                          , Judge presiding, and the issues having been duly

    tried and the Jury having rendered its verdict; now therefore, pursuant to the verdict,

          IT IS ORDERED, ADJUDGED AND DECREED that the plaintiff(s):




    take nothing on the complaint against the defendant(s):




    and that the said defendant(s) have and recover costs from the said plaintiff(s).



                                                   ANGELA D. CAESAR, Clerk



    Dated: 11/20/2015                            By:               T. Gumiel
                                                                Deputy Clerk




.
